            Case 1:14-cv-02811-JMF Document 774 Filed 11/15/21 Page 1 of 3




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                                                                            The motion to seal is granted temporarily. The
 November 12, 2021                                                          Court will assess whether to keep the materials
                                                                            at issue sealed or redacted when deciding the
                                                                            underlying motion. SO ORDERED.
 VIA ECF

 The Honorable Jesse M. Furman
 U.S. District Court for the Southern District of New York
 Thurgood Marshall U.S. Courthouse
 40 Foley Square
 New York, New York 10007                                  November 12, 2021
 Re:      City of Providence, Rhode Island v. Bats Global Markets, Inc., Case 1:14-CV-2811
          (JMF)—Letter Motion for Leave to File Under Seal

 Dear Judge Furman:

         We write pursuant to Section 6 of the Court’s Electronic Case Filing Rules & Instructions
 and Your Honor’s Individual Rules of Practice to respectfully seek leave to file under seal
 Defendants’ forthcoming Sur-reply in Further Opposition to Plaintiffs’ Motion for Class
 Certification (ECF 617) (the “Sur-reply”), Combined Replies in Support of their Motions to
 Exclude the Opinions and Testimony of David Lauer (ECF 651) and John D. Finnerty (ECF 643)
 and Memorandum of Law in Support of their Motion to Strike Plaintiffs’ New Damages Model,
 and Declaration of Douglas W. Henkin in support thereof (the “Omnibus Brief and Declaration”).
 Defendants’ Sur-reply and Omnibus Brief and Declaration will be filed later today, November 12,
 2021.

         The Sur-reply and Omnibus Brief and Declaration cite, discuss, quote, and attach certain
 documents and expert materials (the “Protected Materials”) that were (i) designated as
 “Confidential” or “Highly Confidential” under the Court’s Protective Order (ECF 402), or
 (ii) contain Defendants’ proprietary business information.
        Case 1:14-cv-02811-JMF Document 774 Filed 11/15/21 Page 2 of 3



November 12, 2021
Page 2

       Defendants intend to promptly file public versions of the Sur-reply and Omnibus Brief and
Declaration, in which references to the Protected Materials are redacted.

      Accordingly, Defendants respectfully request leave to file the Sur-reply and Omnibus Brief
and Declaration under seal.

Respectfully submitted,

By: /s/ Steven M. Shepard


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       Case 1:14-cv-02811-JMF Document 774 Filed 11/15/21 Page 3 of 3



November 12, 2021
Page 3

cc:   All counsel of record via ECF
